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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA


JILL STEIN, RANDALL REITZ, ROBIN HOWE,
SHANNON KNIGHT, EMILY COOK, and
KIMBERLY KUPKA,

                       Plaintiffs,

       -against-                                             No. 16-CV-6287 (PD)

PEDRO A. CORTÉS, in his official capacity as                 NOTICE OF VOLUNTARY
Secretary of the Commonwealth; and JONATHAN                  DISMISSAL
MARKS, in his official capacity as Commissioner
of the Bureau of Commissions, Elections, and
Legislation,

                       Defendants.


       Pursuant to Fed. R. Civ. P 41(a)(1)(A)(i), Plaintiff Kimberly Kupka dismisses her claims

in this action without prejudice.



                                     [Signature on following page]
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Dated: August 29, 2018
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                                    _______________/s/_______________
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